Case 2:09-md-02047-EEF-MBN Document 428-2 Filed 11/10/09 Page 1 of 2

IN THE UNITED STATE DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

TIMOTHY PERRY AND
TRACEY PERREY

MDL DOCKET NO. 2047

PLAINTIFFS
Judge Eldon E. Fallon

V.

KNAUF GIPS KG;

KNAUF PLASTERBOARD

TIANJIN COMPANY, LTD

SUN CONSTRUCTION, LLC

SUNRISE CONSTRUCTION, LLC

FICTITIOUS DEFENDANTS A-Z
DEFENDANTS

Magistrate Judge Joseph C. Wilkerson, Jr.

Section L

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Case No. 2:09cv5500 L/2
SUN CONSTRUCTION, LLC’S
MOTION FOR SUMMARY JUDGMENT PURSUANT TO FRCP RULE 56

NOW INTO COURT, through undersigned counsel, comes Defendant, Sun
Construction, LLC, a Louisiana Limited Liability Corporation, which moves the Court to
grant this summary judgment dismissing this matter on the grounds that the parties have

contracted for binding arbitration.
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Respectfully submitted,

COUHIG PA RS, L.
BY EZ ges

DAVID C. LOEB (LA Bar No. 8660)
LISA L. MAHER (LA Bar No. 21326)
643 MAGAZINE STREET, SUITE 300
NEW ORLEANS, LA 70130
Telephone 504-588-1288

Facsimile 504-588-9750
dloeb@couhigpartners.com
maherl@couhigpartners.com

CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Sun Construction, LLC’s Motion for Summary
Judgment Pursuant to FRCP Rule 56 has been served on Plaintiffs’ Liaison Counsel, Russ

Hermann at Drywall@bhhke.com, and Defendants’ Liaison Counsel, Kerry Miller at

Kmiller@frilot.com, and Homebuilder Sterring Committees’ Counsel Hilarie Bass and Phillip A.

Wittmann at pwittman@stonepigman.com and upon all parties by electronically uploading the

same to Lexis Nexis File & Serve in accordance with Pretrial Order No. 6, and that the foregoing
was electronically filed with the Clerk of Court of the United States District for the Eastern
District of Louisiana by using the CM/ECF System, which will send a notice of electronic filing

in accordance with the procedures established in MDL 2047, on the 10th day of November,

BE

DAVID C. LOEB

2009.

